UNI'I"ED STATES DIS'I`RICT COURT
EASTERN DISTRICT OF TENNESSEE
AT WU\JCHESTER

 

FREEMAN M. IE"RC)"I,"I~HI\ICrHiM\/l33 JR., AS
EXECUTOR (:)`F T`HE ESTATE OF AND
FOR USE AND BENEFIT OF THE
STATUTORY EENEFICIARIES C>F
FREEMAN M. FROTHINGHAM, SR.,
DECEASED,

P!aintiff,

v. NO.
GGNSC WINCH`ESTER, LLC d/b/a
GOLDEN LIVI'NGCENTER-MOUNTAIN
VIEW; G`PH' WINCHESTER, LLC; GGNSC
EQUITY HGLDINGS¢ LLC; GGNSC
CLINICAL SERVICES, LLC; GOLDEN
GATE 'NATIONAL SENIOR CARE, LLC;
GGNSC ADMINISTRATIVE SERVICES,
LLC;, GOLDEN GATE ANCILLARY, LLC;
GGNSC I~IOLDINGS, LLC; 360
HEALTHCARE STAFFING, LLC; GEARY
REAL ESTATE HOLDINGS, LLC; AND
DRUM INVESTORS, LLC,

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Defendants.

 

NOTlCE OF REM()VAL

 

Defendants GGNSC Winchest€r, LLC d/b/a Golden LivingCenter~Mountain View, GPH
Wi,nchester, LLC, GGNSC Equity Holdings, LLC, GGNSC Clinical Services, LLC, Gc)lden Gat€
National Senior Care, LLC, GGNSC Administrative Services, LLC, Golden Gate Ancillary,
LLC, GGNSC Holdings, LLC and 360 Heaithcare Staff`mg, LLC (collectively “the Defendants”)

Subrnit this Notice of Removal pursuant to 28 U.S.C. §§ 1441 and 1446g and State as follows:

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Case 4:12-Cv-00035-SKL Document 1 Filed 06/06/12 Page 1 of 7 Page|D #: 1

l. On May l, ?.Oll?.5 Plaintit`l", lireeman M, Frothingham,, J'r., filed a Complaint styled
lireeman l\/I, l~"rothinghamq Jr. as EXecutor oi` the I§`,state ot` and for Use and Benetit of the
Statutorv Benel“iciaries of Freeman M. Frothineham. Sr.. Deceased V. GGNSC Winchester LLC
d/b/a Golden ,l,ivinnCenter-Mountain View. GPH Winchester LLC, GGNSC EouitY Hol,dinvs
LLC GGNSC Cl,inical Services. LLC. Golden Gate l\iational Senicr Care. LLC. GGNSC
Adniinistrative Services LLC` Golden Gate Ancillarv. LLC GGNSC Holdin;zs LLC 360
liealthcare Stat`iina LLC. Geary Real Estate Hol,dinas LLC. and Drumm lnvestors LLC No.
?.Ol2~cv»18697, in the Circuit Court of Franklin Countyi Tennessee (the “State Court Action").

2. On or about May S, ZOlZ, service of process in the State Court Action Was
effected upon the Defendants. This l\lotice of Removal is filed Within thirty (30) days after
Det`endants received a copy of Plaintit`i`s Complaint, as required by 28 U.S.C. l446(_b).

3. The Defendants file herewith as Collective Exhibit A copies of all pleadings
heretofore filed in the State Court Action and served upon the Defendants.

4. This Court has jurisdiction over this cause under 28 U.S.C. § l332 and 28 U.S.C.
§ l44l, _e_t seg. There is complete diversity of citizenship between the parties, and there Was
complete diversity of citizenship between the parties at the commencement of the State Court
Action. The Plaintiff, a Tennessee citizen, is a resident of l\/lorrison, Warren County, Tennessee
and resides at 1054 Caney Branch Road, l\/lorrison, Tennessee 37357. No Dei°`endant is a citizen
of the state of Tennessee, as evidenced by the t`olloWingl:

(a) Defendant GGNSC Winchester, LLC d/b/a Golden LivingCenter ~

Mountain View is a Delaware limited liability company its sole member is GGNSC

Equity Holdings, LLC; please see Paragraph 4(b) herein Therefore, GGNSC

 

l See Rolling Greens MHP, LP v. Comcc:st SCH Holdings L.L.C_, 374 F.3d 102(), lOZ?. (l lth Cir. 2004) (holding
that a ‘“limited liability company is a citizen of any state of Which a member ofthe company is a citizen”).

2
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Case 4:12-Cv-00035-SKL Document 1 Filed 06/06/12 Page 2 of 7 Page|D #: 2

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Winchester, LLC d/l:»/a Golden LivingCenter ~ i\/lountain View is a citizen oi` Delaware
and Calit`ornia,

(b) Dei`endant GGNSC Eqnity iioldings, LLC is a Deiaware limited liability
company its sole member is Golden Gate National Senior Care, LLC; please see
Paragraph 4(d) herein Therefore, G'GNSC Equity iioldings, LLC is a citizen of
Delaware and California.

(c) Defendant GGNSC Clinical Stervices5 LLC is a Delaware limited liability
company its sole member is Golden Gate Nationai Senior Care, LLC; please see
Paragraph 4(d) herein Therefore, GGNSC Clinical Services, LLC is a citizen of
Delaware and Calit`ornia.

{d) Dei`endant Golden Gate National Senior Care, LLC is a Delaware limited
liability company its sole member is GGNSC iioldings, LLC; please see Paragraph il(h`)
herein Therefore, Golden Gate l\iational Senior Care, LLC is a citizen of Delaware and
California.

(e) Defendant GGNSC Administrative Services, LLC is a Delaware limited
liability company its sole member is GGNSC iioldings, LLC; please see Paragraph 4(h)
herein i`herefore, GGNSC Adrninistrative Services, LLC is a citizen of i)elaware and
California.

(i) Det`endant 360 Healthcare Stafiing, LLC is a Delaware limited liability
company its sole member is Goiden Gate Ancillary, LLC; please see Paragraph 4(g)

herein. Therefore, 360 Healthcare Stai`ting, LLC is a citizen of Delaware and Calii`ornia.

3

Case 4:12-cv-00035-SKL Document 1 Filed 06/06/12 Page 3 of 7 Page|D #: 3

(g) Dei`endant Golden Gate Anciilary, LLC is a l`)elaware limited liability
company its sole member is GGNSC iioldingsi LLC; please see i’aragraph fil('h) herein.
i“herefore, Golden Gate Anciilary, LLC is a citizen of Delaware and Calit`ornia.

(h`) De'i`endant GGNSC iioldings, LLC is a Delaware limited liability
company its sole member is Drumm Corpi i`/l</a Drumrn lnvestors, LLC; please see
Paragraph 4(i) herein i`herel`ore, GGNSC iioldings, LLC is a citizen oi` Delavvare and
Calii`ornia.

(i) Defendant Drumm Corp. f/le/a Drumm investors LLC is a Dela\vare
corporation With its nerve center in Plano, Texas. Therei`ore, Drumm Corp. i`/k/a Drumm
investors LLC is a citizen of Deiaware and iexas.

(i`) Dei"endant GPH Winchester, LLC is a Delaware limited liability company
its sole member is Geary Property lioldings, LLC; please see Paragraph 4(k) herein

(l<) Defendant Geary Property Holdings, LLC f/k/a Geary Real Estate
iioldings, LLC is a Delavvare limited liability company, and none of its members are
citizens of Tennessee.

5. in his Complaint, Plaintiff alleges that Freeman Frothingham., Sr. suffered
malnourishrnent, pressure sores, neglect, other injuries and death as a result of Defendants'
ordinary negligence negligence per se, medical malpractice, and violations of the Tennessee
Adult Protection Act. Although the Compiaint does not allege a specific amount of damages,
Plaintiff is seeking compensatory damages, punitive damages and attorney's fees (Complaint, iiii
104-07`). The Tennessee Adult Protection Act entitles a successful claimant to the recovery of

attorney’s fees Tennc Code Ann. § 71-6-120. Thus, based on a fair reading of the State Court

4
603’!42
Case 4:12-cv-00035-SKL Document 1 Filed 06/06/12 Page 4 of 7 Page|D #: 4

Action Complaint, it is facially apparent that the damages sought by Plainti:t`l" exceed the
jurisdictional limit ar srsiooo?

ok Delendaiits file herewith as Collective Exhibit B copies ot` the notices of removal
Which are being sent to Plaintii`i`s counsel and to the Clerl<: of the Circuit Court of Frankiin
County, iiennessee, from Whence this case is sought to be removed

WiiEREFORE, Defendants pray that this cause proceed in this Court as an action

properly removed hereto

 

2 When a complaint does not allege a specific amount ofdamages,

the party invoking federal jurisdiction must prove by a preponderance ofthe evidence that the
amount in controversy exceeds the jurisdictional amount The district court must first examine the
complaint to determine Whether it is "facially apparent” that the claims exceed thejurisdictional
amount

St. Pcmi Reim'uronce Co., Lid. v. Greenberg, 124 F.3d l250,. l253 (C.A.$ (_Te)<;.) 1998); see also De Aguz'[ar i>,
Boez’ng Co., l l F.3d 55, 57 (C.A.S (Tex.) l993) (tinding it “facially apparent” that a wrongful death claim and
accompanying request for punitive damages exceeded the jurisdictional amount).

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Case 4:12-cv-00035-SKL Document 1 Filed 06/06/12 Page 5 of 7 Page|D #: 5

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DATED: .iune 6, 2012.

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BAKER, DONELSON_ BEARMAN,
CALDWELL de B'ERKOWITZ, P.C.

By: s/'i. O. iielton

 

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LLC: GGNSCAdmim`srmrive Serw'ces, LLCj
Go[den Gale Ancz'llw‘y, LLC, GGNSC
Holdings, LLC, and 360 Healtlzcare
Srajfirig LLC

Case 4:12-cv-00035-SKL Document 1 Filed 06/06/12 Page 6 of 7 Page|D #: 6

CERTIFICATE O`F SERViCE

i hereby certify that on .Iune 6, 2012, a copy of the foregoing Was filed
electronically N'otice ot` this filing will be sent by operation of the Court’s electronic filing
system to all parties indicated on the electronic filing receipt All other parties Will be served by
regular U.S l\/lai,l and Certil‘ied Mail, Return Receipt Requested. Parties may access this filing
through the Court’s electronic filing system

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7

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Case 4:12-cv-00035-SKL Document 1 Filed 06/06/12 Page 7 of 7 Page|D #: 7

